 8:05-cr-00199-LSC-TDT           Doc # 35   Filed: 07/12/05   Page 1 of 1 - Page ID # 96




                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                          )
                                                   )          8:05CR199
                    Plaintiff,                     )
                                                   )
      vs.                                          )           ORDER
                                                   )
JOSE C. CONTRERAS-CORTEZ, et al.,                  )
                                                   )
                    Defendants.                    )

      An evidentiary hearing on all pending motions is scheduled before the undersigned
magistrate judge at 9:00 a.m. on August 23, 2005, in Courtroom No. 7, Second Floor,
Roman L. Hruska United States Courthouse, 111 South 18th Plaza, Omaha, Nebraska.
      Counsel are reminded of the requirements of NECrimR 12.5 which provides as follows:

      Disclosure of Evidence. This rule applies to all evidentiary hearings on
      pretrial motions in criminal cases.

             (a)    Witnesses. At the time of the hearing, and to the extent
             reasonably possible, the parties shall submit to the judge and
             courtroom deputy a written list of all witnesses whom the parties
             expect to call.
             (b)    Exhibits. At least twenty-four (24) hours before the
             hearing, each party shall mark the exhibits that party intends to
             introduce into evidence at the hearing, and provide a copy to
             counsel for all other parties and to the presiding judge.

Exhibits should be marked as follows: government’s exhibits beginning at Number 1 and
defense exhibits beginning at Number 101.

      All defendants with pending motions must be present for the hearing.

      DATED this 12th day of July, 2005.
                                                 BY THE COURT:
                                                 s/Thomas D. Thalken
                                                 United States Magistrate Judge
